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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

             Plaintiffs,

      v.                                         Civil Action No. 1:21-cv-02130 (CJN)

HERRING NETWORKS, INC., et al.,

             Defendants.


                                         ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

       ORDERED that the motions to dismiss Defendants’ amended counterclaim and third-

party complaint, ECF Nos. 113, 114, and 115, are GRANTED. The superseded motions to

dismiss, ECF Nos. 99 and 100, are DENIED as moot.

       The accompanying Memorandum Opinion will be filed under seal.



DATE: March 29, 2024
                                                        CARL J. NICHOLS
                                                        United States District Judge
